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                          EXHIBIT 1
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                                                                               NYSCEF:




             SUPREME COURT OF THE STATE OF NEW YORK
             COUNTY OF SUFFOLK
             --------------------------------------------------------------------X
             Ultimate Abstract Services Inc.,                                                    203056
                                                                                      Index No.:____________/2022
             Ultimate Abstract Services, Inc. Pension Plan, and
             Edward Regan                                                                                   14 2022
                                                                                       Date Filed: October __,
                                                                                           Plaintiffs designate
                                     Plaintiffs,                                          Suffolk County as the
                                                                                               Place of Trial
                     - against -

             Hartford Fire Insurance Company

                                      Defendant.
             ---------------------------------------------------------------------X

                     TO THE ABOVE NAMED DEFENDANTS:

                     YOU ARE HEREBY SUMMONED to answer the Complaint in this action and to

             serve a copy of your answer or if the Complaint is not served with this Summons, to

             serve a notice of appearance, upon the Plaintiff’s attorney within twenty (20) days after

             service of this Summons, exclusive of the date of service (or within thirty [30] days after

             the service is complete if this Summons is not personally delivered to you within the

             State of New York); and in case of your failure to appear or answer, judgment will be

             taken against you by default for relief demanded in the complaint.

             Dated: October 14, 2022
                    Great Neck, New York
                                                                  _________________________
                                                                  GARY ROSEN, ESQ.
                                                                  ROSEN LAW LLC
                                                                  Attorneys for Plaintiffs
                                                                  Ultimate Abstract Services Inc. and
                                                                  Edward Regan
                                                                  216 Lakeville Road
                                                                  Great Neck, New York 11020
                                                                  Tel.: (516) 437-3400




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             DEFENDANT’S ADDRESSES:
             Hartford Fire Insurance Company
             One Hartford Plaza
             Hartford, Connecticut 06155




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             SUPREME COURT OF THE STATE OF NEW YORK
             COUNTY OF SUFFOLK
             --------------------------------------------------------------------X    INDEX NO.: 203056/2022
             Ultimate Abstract Services Inc.,
             Ultimate Abstract Services, Inc. Pension Plan, and
             Edward Regan                                                                   COMPLAINT

                                       Plaintiffs,

                     - against -

             Hartford Fire Insurance Company

                                        Defendant.
             ---------------------------------------------------------------------X

                     Plaintiffs, complaining of the Defendant by their attorneys, ROSEN LAW LLC,

             respectfully alleges as follows:

                     1.       At all times hereinafter mentioned and at the time of the commencement

             of this action, Plaintiff Ultimate Abstract Services Inc. was and is a domestic corporation

             organized in the State of New York, and authorized to conduct business in the State of

             New York, with its principal place of business located at 1383 Veterans Memorial

             Highway, Suite 30, Hauppauge, New York 11788.

                     2.       At all times hereinafter mentioned and at the time of the commencement

             of this action, Plaintiff Ultimate Abstract Services Inc. Pension Plan was and is a pension

             plan duly formed in the State of New York, and authorized to conduct business in the

             State of New York, with its principal place of business located at 1383 Veterans

             Memorial Highway, Suite 30, Hauppauge, New York 11788.

                     3.       At all times hereinafter mentioned and at the time of the commencement

             of this action, Plaintiff Edward Regan was and is an individual with his principal place of




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             business located at 1383 Veterans Memorial Highway, Suite 30, Hauppauge, New York

             11788.

                      4.    At all times hereinafter mentioned and at the time of the commencement

             of this action, Plaintiff Edward Regan was a beneficiary of the Ultimate Abstract

             Services, Inc. Pension Plan (“Pension Plan”).

                      5.    Defendant issued a fidelity bond, policy number / bond number

             CrimeShield Policy No. 16BDDAL9288 to Plaintiff Ultimate Abstract Services Inc. and

             Plaintiff Ultimate Abstract Services, Inc. Pension Plan (the “Bond”).

                      6.    Non-party Bruce A. Payne was and is the trustee of the Pension Plan.

                      7.    Non-party Bruce A. Payne was and is an employee of the Pension Plan.

                      8.    Non-party Bruce A. Payne (the “Pension Plan Trustee”) stole the funds

             that belonged to the beneficiaries of the Pension Plan, including Plaintiff Edward Regan.

                      9.    Pension Plan Trustee committed theft of the Pension Plan assets.

                      10.   On July 28, 2022, Plaintiff Edward Regan obtained a judgment against the

             Pension Plan Trustee (Exhibit “1”).

                      11.   Plaintiffs had only discovered that the assets of the Pension Plan were

             unable to be located after Plaintiff Edward Regan obtained a judgment against the

             Pension Plan Trustee.

                      12.   To date, the Pension Plan Trustee failed to return the funds that Pension

             Plan Trustee took from the Pension Plan’s bank accounts and/or brokerage accounts,

             depriving Plaintiffs of the monies that were due to be held by the Pension Plan and due to

             be paid to the beneficiaries of the Pension Plan, including Plaintiff Edward Regan.




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                    13.     Plaintiffs demand that Defendant make the Pension Plan whole due to the

             malfeasance of the Pension Plan Trustee.

                    14.     Upon information and belief, the total assets of the Pension Plan that the

             Pension Plan Trustee withdrew from the Pension Plan’s bank accounts and/or brokerage

             accounts, exceeded $750,000.

                    15.     The Pension Plan Trustee committed fraud resulting in losses to the

             Plaintiffs and beneficiaries of the Pension Plan exceeding $750,000.

                    16.     The Pension Plan Trustee committed dishonesty resulting in losses to the

             Plaintiffs and beneficiaries of the Pension Plan exceeding $750,000.

                    17.     The Bond was a contract between Plaintiff Ultimate Abstract Services

             Inc., Plaintiff Ultimate Abstract Services, Inc. Pension Plan and Defendant.

                    18.     Plaintiff Edward Regan is a third-party beneficiary pursuant to the contract

             between Plaintiff Ultimate Abstract Services Inc., Plaintiff Ultimate Abstract Services,

             Inc. Pension Plan and Defendant.

                    19.     Plaintiffs performed all of their obligations under the Bond.

                    20.     Plaintiffs made a demand upon Defendant to pay to Plaintiffs the sum

             exceeding $750,000 as the losses sustained by Plaintiffs due to the malfeasance of the

             Pension Plan Trustee.

                    21.     Defendant established claim number 564FD64798 with regard to

             Plaintiffs’ claims set forth in this complaint.

                    22.     Defendant breached their obligations under the Bond by failing to pay the

             sum exceeding $750,000 being the losses sustained by Plaintiffs due to the malfeasance

             of the Pension Plan Trustee.




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                    23.     Plaintiffs sustained damages.

                    24.     Plaintiffs sustained injuries as a result of the Defendant failing to pay the

             sum exceeding $750,000 being the losses sustained by Plaintiffs due to the malfeasance

             of the Pension Plan Trustee.

                    25.     Plaintiffs demand judgment against Defendant.

                    26.     Defendant has refused to perform its obligations under the terms and

             conditions of the Bond.

                    27.     Plaintiffs have been damaged as a result of Defendant’s failure to perform

             the terms and conditions of the Bond.

                    28.     By reason of the foregoing, Plaintiffs have been damaged in an amount to

            be determined at trial, but anticipated to be no less than $750,000, plus interest, costs,

            disbursements and attorneys’ fees.

                                AS AND FOR A SECOND CAUSE OF ACTION
                                      FOR UNJUST ENRICHMENT


                    29.     Plaintiffs repeat, reiterate and reallege each and every allegation contained

             in paragraphs “1” through “28” of this complaint, with the same force and effect as if

             more fully set forth at length herein.

                    30.     Defendant received insurance premiums for the Bond from Plaintiff

             Ultimate Abstract Services Inc. and/or Plaintiff Ultimate Abstract Services, Inc. Pension

            Plan.

                    31.     Defendant benefitted at the Plaintiff’s expense.

                    32.     Equity and good conscience require restitution to Plaintiffs.




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                    33.       By reason of the foregoing, Plaintiffs have been damaged in an amount to

             be determined at trial, but anticipated to be no less than $750,000, plus interest, costs,

             disbursements and attorneys’ fees.

                    WHEREFORE, Plaintiffs demands judgment:

                    a) On the First Cause of Action against Defendant in the sum to be determined at

             trial, but anticipated to be no less than $750,000, plus attorneys’ fees, costs, expenses and

             disbursements;

                    b) On the Second Cause of Action against Defendant in the sum to be

             determined at trial, but anticipated to be no less than $750,000, plus attorneys’ fees, costs,

             expenses and disbursements;

                    c) And for such other and further relief as to the Court may seem just, proper

             together with attorneys’ fees, the costs and disbursements of this action.




             Dated: October 14, 2022
                    Great Neck, New York
                                                           _________________________
                                                           GARY ROSEN, ESQ.
                                                           ROSEN LAW LLC
                                                           Attorneys for Plaintiffs
                                                           Ultimate Abstract Services Inc. and
                                                           Edward Regan
                                                           216 Lakeville Road
                                                           Great Neck, New York 11020
                                                           Tel.: (516) 437-3400




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                                            Verification by Attorney



             STATE OF NEW YORK            )
                                          ) ss.:
             COUNTY OF NASSAU             )


               Gary Rosen, Esq. an attorney duly admitted to practice in the Court of the State of
             New York, affirms that the following statements are true under penalties of perjury:

                 Deponent is the attorney of record for Plaintiffs in the within action. Deponent has
             read the foregoing Complaint and knows the contents thereof, and that the same is true to
             deponent’s own knowledge, except as to the matters therein stated to be alleged upon
             information and belief, and that those matters deponent believes it to be true.

                 This verification is made by deponent and not by the Plaintiffs because Plaintiffs do
             not reside in the County wherein your deponent maintains an office.

                The grounds of deponent’s belief as to all matters not stated upon deponent’s
             knowledge are as follows: Statements of said Plaintiffs, records supplied by Plaintiffs,
             and deponent’s general investigation into the facts of this case.


             Dated: October 14, 2022
                    Great Neck, New York

                                                         ______________________________
                                                               GARY S. ROSEN




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                                  Exhibit “1”
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          UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF NEW YORK
          ----------------------------------------------------------------X
          EDWARD REGAN,
                                                                              DEFAULT JUDGMENT
                                             Plaintiff,                       CV 20-5423 (JMA) (ARL)
                           - against -

          BRUCE A. PAYNE, individually and as Trustee and
          Fiduciary of the ULTIMATE ABSTRACT
          SERVICES, INC. PENSION PLAN, and THE
          ULTIMATE ABSTRACT SERVICES INC.
          PENSION PLAN,

                                              Defendants.
          ----------------------------------------------------------------X


                  An Order of Honorable Joan M. Azrack, United States District Judge, having been filed on

          July 28, 2022; granting Plaintiff’s motion for a default judgment, directing the Clerk of the Court

          to enter judgment against Defendant Bruce A. Payne and in favor of Plaintiff Edward Regan in the

          amount of $350,034.20, plus prejudgment interest of $184,831.04, for a total of $534,865.24, and

          directing the Clerk of the Court to close this case, it is

                  ORDERED AND ADJUDGED that Plaintiff’s motion for a default judgment is granted;

          that Plaintiff Edward Regan is awarded a default judgment in the amount of $534,865.24 against

          Defendant Bruce A. Payne; and that this case is closed.


          Dated: July 28, 2022
                 Central Islip, New York


                                                                              BRENNA B. MAHONEY
                                                                              CLERK OF THE COURT

                                                                       BY:    /S/ JAMES J. TORITTO
                                                                              DEPUTY CLERK
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          UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF NEW YORK
          ----------------------------------------------------------------------X   For Online Publication Only
          EDWARD REGAN,
                                                                                    ORDER
                                                               Plaintiff,           2:20-CV-05423 (JMA) (ARL)
                                                                                                   FILED
                                  -against-
                                                                                                   CLERK

          BRUCE A. PAYNE, individually and as Trustee                                       7/28/2022 11:50 am
          and Fiduciary of the ULTIMATE ABSTRACT                                           U.S. DISTRICT COURT
          SERVICES, INC. PENSION PLAN, and                                            EASTERN DISTRICT OF NEW YORK
          THE ULTIMATE ABSTRACT                                                            LONG ISLAND OFFICE
          SERVICES, INC. PENSION PLAN,

                                                                Defendants.
          ----------------------------------------------------------------------X
          AZRACK, United States District Judge:

                  Before the Court is the motion of Plaintiff Edward Regan for a default judgment against

          Defendant Bruce A. Payne. Plaintiff alleges that Payne, as trustee and fiduciary of the Ultimate

          Abstract Services, Inc. Pension Plan (the “Plan”), violated provisions of the Employee Retirement

          Income Security Act of 1974, 29 U.S.C. §§ 1001, et seq., by breaching his fiduciary duties to the

          Plan. (See Compl., ECF No. 1.) Plaintiff now seeks $350,034.20, representing Plaintiff’s share

          of the Plan’s assets as of February 28, 2017; interest in the amount of $184,831.04, calculated at a

          rate of 9% per year from February 28, 2017; and attorney’s fees and costs to be sought in a post-

          judgment application. (See Rosen Decl. ¶ 18, ECF No. 8-3.) For the following reasons, Plaintiff’s

          motion is GRANTED, and Plaintiff is awarded a default judgment against Defendant Payne.

                                                        I. DISCUSSION

          A. Defendant Defaulted

                  The record reflects that Defendant was properly served in this action but has not answered,

          appeared in this action, responded to the instant motion for default judgment, or otherwise

          defended this action. Accordingly, the Court finds Defendant in default.
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          B. Liability

                 When a defendant defaults, the Court is required to accept all of the factual allegations in

          the complaint as true and draw all reasonable inferences in the plaintiff’s favor. See Finkel v.

          Romanowicz, 577 F.3d 79, 84 (2d Cir. 2009). However, the Court also must determine whether

          the allegations in the complaint establish the defendant’s liability as a matter of law. Id. Here, the

          allegations in the Complaint are sufficient to establish Defendant Payne’s liability for breach of

          fiduciary duty under ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3).

          C. Relief

                 Plaintiff seeks, among other things, “appropriate equitable relief” against Defendant Payne,

          “including but not limited to surcharge[.]” (Compl. at 16.) Specifically, Plaintiff pursues recovery

          of $350,034.20, representing Plaintiff’s share of the Plan’s assets as of February 28, 2017, as well

          as interest in the amount of $184,831.04, apparently based on New York’s statutory prejudgment

          interest rate of 9%. (See Rosen Decl. ¶ 18.) The Court finds that surcharge is warranted due to

          Defendant Payne’s breach of fiduciary duties as a fiduciary of the Plan. See CIGNA Corp. v.

          Amara, 563 U.S. 421, 441 (2011) (holding that surcharge is available as a form of equitable relief

          under 29 U.S.C. § 1132(a)(3)); see also Hartman v. Lincoln Nat’l Life Ins. Co., No. 4:20-CV-579,

          2022 WL 103313, at *2 (E.D. Mo. Jan. 11, 2022) (ordering surcharge under § 1132(a)(3) against

          defaulting defendant for breach of fiduciary duty). Defendant Payne is therefore liable to Plaintiff

          for $350,034.20, which represents the precise amount of “monetary ‘compensation’ for a loss

          resulting from a trustee’s breach of duty, or to prevent the trustee’s unjust enrichment.” Amara,

          563 U.S. at 441.      Additionally, the Court awards prejudgment interest in the amount of

          $184,831.04, based on New York’s statutory rate of 9%. See Alfano v. CIGNA Life Ins. Co. of

          New York, No. 07-CV-9661, 2009 WL 890626, at *7 (S.D.N.Y. Apr. 2, 2009) (awarding

          prejudgment interest to ERISA plaintiff at statutory rate of 9%).


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                                                 II. CONCLUSION

                 For the reasons stated above, Plaintiff’s motion for a default judgment is GRANTED. The

          Clerk of the Court is respectfully directed to enter judgment against Defendant Bruce A. Payne

          and in favor of Plaintiff Edward Regan in the amount of $350,034.20, plus prejudgment interest

          of $184,831.04, for a total of $534,865.24.

                 The Clerk of the Court is directed to close this case.

          SO ORDERED.

          Dated: July 28, 2022
          Central Islip, New York

                                                                     /s/  (JMA)
                                                               JOAN M. AZRACK
                                                               UNITED STATES DISTRICT JUDGE




                                                           3
